        Case 1:24-cv-08393-PAE           Document 29         Filed 06/10/25      Page 1 of 3




  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK


    KNIGHT FIRST AMENDMENT INSTITUTE
    AT COLUMBIA UNIVERSITY,                                 24 Civ. 8393 (PAE)

                                     Plaintiff,             STIPULATION OF
                                                            SETTLEMENT AND
                            -v-                             DISMISSAL
    U.S. DEPARTMENT OF EDUCATION,

                                     Defendants.



       WHEREAS, plaintiff Knight First Amendment Institute at Columbia University

(“Plaintiff”) filed this suit in the United States District Court for the Southern District of New York

pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, seeking the release of

certain records by defendant U.S. Department of Education (“DOE”);

       WHEREAS, following negotiations, DOE released certain records to Plaintiff between

December 6, 2024 and February 21, 2025, subject to partial redaction pursuant to FOIA Exemption

5 and FOIA Exemption 7(A);

       WHEREAS, the Parties agree that the only remaining issue in this matter concerns

Plaintiff’s claim for attorneys’ fees and litigation costs pursuant to 5 U.S.C. § 552(a)(4)(E); and

       WHEREAS, the Parties agree that DOE’s payment to Plaintiff of the amount specified in

Paragraph 1 below will upon receipt by Plaintiff fully resolve this action and warrant dismissal

with prejudice;

       IT IS HEREBY STIPULATED, AGREED, and ORDERED as follows:

       1.      After the Court has approved and docketed this Stipulation and Order, Counsel for
        Case 1:24-cv-08393-PAE            Document 29        Filed 06/10/25      Page 2 of 3




Plaintiff will provide the necessary information for DOE to effectuate payment. As soon as

reasonably practicable after Plaintiff’s provision of necessary information to effectuate payment,

DOE shall pay to Plaintiff via electronic funds transfer the sum of ELEVEN THOUSAND

DOLLARS ($11,000) in attorneys’ fees and litigation costs, pursuant to 5 U.S.C. § 552(a)(4)(E),

which sum, Plaintiff agrees, will upon receipt completely satisfy any and all claims by Plaintiff

against the United States, or any department, agency, officer, or employee of DOE and/or the

United States, arising out of the FOIA request at issue in this action, including for attorneys’ fees,

expenses, costs, interest, and any other sums related to this litigation.

        2.       This action is hereby dismissed with prejudice, and without costs or fees other than

as provided in Paragraph 1 of this Stipulation and Order, provided that the Court shall retain

jurisdiction for the purpose of enforcing this Stipulation and Order.

        3.       This Stipulation and Order shall not constitute an admission of liability or fault on

the part of DOE or the United States or their agents, servants, or employees, and is entered into by

both parties for the sole purpose of compromising disputed claims and avoiding the expenses and

risks of further litigation.

        4.       The parties agree that this Stipulation and Order is non-precedential with respect to

any other proceeding against DOE, the United States, or any agency or instrumentality of the

United States.




                                                   2
        Case 1:24-cv-08393-PAE           Document 29         Filed 06/10/25      Page 3 of 3




        5.      The parties understand and agree that this Stipulation and Order contains the entire

agreement between them, and that no statements, representations, promises, agreements, or

negotiations, oral or otherwise, between the parties or their counsel that are not included herein

shall be of any force or effect.

  Dated: June 10, 2025                          Dated: June 10, 2025
         New York, New York                            New York, New York

         JAY CLAYTON
         United States Attorney


  By:                                                :
        SARAH NORMAND                                    SCOTT WILKENS
        JESSICA F. ROSENBAUM                             Knight First Amendment Institute at
        Assistant United States Attorneys                Columbia University
        86 Chambers Street, 3rd Floor                    475 Riverside Drive, Suite 302
        New York, New York 10007                         New York, New York 10115
        Tel.: (212) 637-2709/2777                        Tel.: (646) 745-8500
        Sarah.Normand@usdoj.gov                          Scott.Wilkens@knightcolumbia.org
        Jessica.Rosenbaum@usdoj.gov                      Counsel for Plaintiff
        Counsel for Defendants


SO ORDERED:




HONORABLE PAUL A. ENGELMAYER
UNITED STATES DISTRICT JUDGE




                                                 3
